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B18J(Form 18J) (08/07)

                                   United States Bankruptcy Court
                                              Middle District of Florida
                                            Case No. 9:09−bk−02739−ALP
                                                      Chapter 7

In re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
    Jason F McLendon                                          Tanya R McLendon
    fdba LA, fdba First Class Cleaning, fdba                  15831 Delasol Lane
    First Clas Builders, fdba Alico Eleven, fdba              Naples, FL 34110
    Olde Naples Investments, fdba Sharp
    Investments, fdba Alico Business Park
    15831 Delasol Lane
    Naples, FL 34110
Social Security No.:
   xxx−xx−6826                                               xxx−xx−9395
Employer's Tax I.D. No.:



                                    DISCHARGE OF JOINT DEBTORS

It appearing that the debtors are entitled to a discharge,

IT IS ORDERED:

The debtors are granted a discharge under section 727 of title 11, United States Code, (the Bankruptcy Code).



                                             BY THE COURT




                                             ____________________________________________
                                             Alexander L. Paskay
Dated: October 12, 2009                      United States Bankruptcy Judge



                   SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.
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                                 EXPLANATION OF BANKRUPTCY DISCHARGE
                                       IN A JOINT CHAPTER 7 CASE

      This court order grants a discharge to the persons named as the debtors. It is not a dismissal of the case and it
does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

       The discharge prohibits any attempt to collect from the debtors a debt that has been discharged. For example, a
creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach wages
or other property, or to take any other action to collect a discharged debt from the debtors. A creditor who violates
this order can be required to pay damages and attorney's fees to the debtor.

      However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against
the debtors' property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a
debtor may voluntarily pay any debt that has been discharged.

Debts That are Discharged

       The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but
not all, types of debts are discharged if the debt existed on the date the bankruptcy case was filed. (If this case was
begun under a different chapter of the Bankruptcy Code and converted to chapter 7, the discharge applies to debts
owed when the bankruptcy case was converted.)
Debts that are Not Discharged.

      Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:
      a. Debts for most taxes;
      b. Debts incurred to pay nondischargeable taxes (in a case filed on or after October 17, 2005);
      c. Debts that are domestic support obligations;
      d. Debts for most student loans;
      e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;
      f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or aircraft
      while intoxicated;

      g. Some debts which were not properly listed by the debtor;

      h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are not
      discharged;

      i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement in
      compliance with the Bankruptcy Code requirements for reaffirmation of debts; and
      j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift Savings
      Plan for federal employees for certain types of loans from these plans (in a case filed on or after October 17,
      2005).



       This information is only a general summary of the bankruptcy discharge. There are exceptions to these
general rules. Because the law is complicated, you may want to consult an attorney to determine the exact
effect of the discharge in this case.
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                          CERTIFICATE OF NOTICE
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The following entities were noticed by first class mail on Oct 15, 2009.
db/jdb       +Jason F McLendon,    Tanya R McLendon,     15831 Delasol Lane,    Naples, FL 34110-2810
tr           +Robert E Tardif, Jr.,     Trustee,    Post Office Box 2140,    Fort Myers, FL 33902-2140
cr            Bank of Florida-Southwest,     c/o Luis E. Rivera II, Esq.,     P.O. Box 280,
               Fort Myers, FL 33902-0280
cr           +Litton Loan Servicing LP,     Po Box 829009,    Dallas, Tx 75382-9009
cr           +Litton Loan Servicing, LP,     c/o Oscar A. Gomez, Esq.,     900 S. Pine Island Road, Suite 400,
               Plantation, FL 33324-3920
15731852     +3573 Enterprise Condominium Assoc, INc,      c/o Property Managment,     265 Airport Rd.,
               Naples, FL 34104-3518
15731851     +3573 Enterprise Condominium Assoc, Inc,      c/o R & P Property Management,     265 Airport Rd.,
               Naples, FL 34104-3518
15731853     +A&A Truck Brokers, Inc,     6141 Hamilton Dr.,     Fort Myers, FL 33905-4445
15731858      AFCO,    Dept 0809,   Dallas, TX 75312-0809
15731867      ASAP Blueprint & Sign Comp,     1981 J&C Blvd.,     Naples, Fl 34109
15731854      Able Body Labor,    PO Box 30532,     Tampa, FL 33630-3532
15731855     +Accurate Hauling, INc,     1345 Old Pondella Rd,     Cape Coral, FL 33909-5259
15731856     +Acousit Engineering Company of FL,      3620 Work Dr.,    Fort Myers, FL 33916-7534
15731857     +Action Automatic door & Gate,      11360 Metro Pkwy,    Fort Myers, FL 33966-1205
15731859     +All City Plumbing, Inc,     17466 E Street,    N. Fort Myers, FL 33917-2102
15731860     +All City Site Development,     17466 E St.,    N. Fort Myers, FL 33917-2102
15731861     +All Wireless,    1000 Immokalee Rd. #82,     Naples, FL 34110-4802
15731862      Alliance One Receivables Management, Inc,      PO Box 3102,    Southeastern, PA 19398-3102
15943098     +Allied Building Products Corp,      Att: Donna Harrington,    310 June Road,    Blandon, PA 19510-9566
15731866     +Antonio J. Perez-Benitoa PA,     900 6th Ave. S., Suite 303,     Naples, FL 34102-6745
15731868     +Attorneys Real Estate Land Surveying,      1930 Park Meadow Dr.,     Fort Myers, FL 33907-3754
15731869     +B& B Cool Air, Inc,    1511 Gretchen Ave., Suite A,      Lehigh Acres, FL 33973-2603
15731873     +BANK OF AMERICA,    PO BOX 1598,     NORFOLD, VA 23501-1598
15731875      BCC02 Financial Management Services, Inc,      PO Box 490537,    Fort Lauderdale, FL 33349-0537
15731872      Bank of America,    P. O. Box 25118,     Tampa, FL 33622-5118
15731874     +Bank of Florida,    1185 Immokalee Rd.,     Naples, FL 34110-4804
15731876     +Berge Buildings & Contracting Co,      PO Box 151398,    Cape Coral, FL 33915-1398
15731877     +Builders Choice Supply, Inc,     875 S Elm St.,     LaBelle, FL 33935-4400
15731878      Business Revenue Systems, Inc,      PO Box 13077,    Des Moines, IA 50310-0077
15731879     +C R Gillen,    1415 Jefferson Ave.,     Lehigh Acres, FL 33972-2422
15731880     +C.A. Land Clearing, INc,     400 Hendry Isle Blvd,     Clewiston, FL 33440-8974
15731889     +CCS Medical,    14255 49th St. N, Suite #301,      Clearwater, FL 33762-2813
15731881     +Cape Coral Electric, Inc,     928 SE 15th Terr.,     Cape Coral, FL 33990-3426
15731882     +Cape Coral Glass & Mirror,     873 SE 47th St.,     Cape Coral, FL 33904-9097
15731883     +Cape Coral Insulation Services,      912 SE 9th Terr.,    Cape Coral, FL 33990-3004
15731884     +Capstone Financial Management, LLC,      PO Box 674257,    Marietta, GA 30006-0071
15731885     +Carlson Brothers Construction, Inc,      19760 Little Lane,    Alva, FL 33920-3700
15731886     +Carpanez Floor Covering,     2116 Earl Rd.,    Fort Myers, FL 33901-8001
15731887     +Carter Fence Company,     3490 Shearwater St.,     Naples, FL 34117-8414
15731888     +Causeway Lumber Company,     PO Box 21088,    Fort Lauderdale, FL 33335-1088
15731890      Cemex,    PO Box 905875,    Charlotte, NC 28290-5875
15731891     +Cemex, Inc,    1425 E. Wiggins Pass Rd,     Naples, FL 34110-6301
15731892     +Certegy Check Services, Inc.,      P.O. Box 30046,    Tampa, FL 33663-0001
15731893     +ChexSystems,    Attn: Consumer RElations,     7805 Hudson Rd., Suite 100,     Woodbury, MN 55125-1703
15731895     +Coastal Locksmith, Inc,     1217 E Cape Coral Pkwy,     Cape Coral, FL 33904-9604
15731896     +Cobra Site Development, Inc,     11419 Waterford Village Dr.,     Fort Myers, FL 33913-7917
15731897     +Cochran Construction & Paving Co,      132 Pollywog Point,    LaBelle, FL 33935-9625
15731898     +Coleman, Hazzard & Taylor, PA,      2640 Golden Gate Pkwy,    Naples, FL 34105-3220
15731899      Collier County Tax Collector,      3301 Tamiami Trail East Bldg C-1,     Naples, FL 34112-4997
15731900      Comcast,    P. O. Box 105184,    Atlanta, GA 30348-5184
15731901     +Commercial Clean-Up,     4305 Exchange Ave.,    Naples, FL 34104-7021
15731903     +D. C. Katz Plumbing,     901 W Leeland Heights Blvd,     Lehigh Acres, FL 33936-6623
15731904     +Danny Yates Landscaping, Inc,      425 SW Pine Island Rd.,    Cape Coral, FL 33991-1946
15731905      David Lawrence Center,     6075 Bathey Lane,    Naples, FL 34116-7536
15731906     +Davidson Insulation & Acoustics, Inc,      PO Box 380939,    Murdock, FL 33938-0939
15731907      Daytona Beach Regency Assoc, Inc,      PO Box 863596,    Orlando, FL 32886-3596
15731908     +DeBoest, Stockman, Decker,,     Broughton & Hagan, PA,     1415 Hendry St.,
               Fort Myers, FL 33901-2820
15759731      Department of Revenue,     PO Box 6668,    Tallahassee FL 32314-6668
15731909     +E LocalLink,    130 E Main St.,     Granite Building, 1st FL,    Rochester, NY 14604-1610
15731914     +ERSolutions, Inc,    PO Box 9004,     Renton, WA 98057-9004
15731910     +Edison Plumbing, Inc,     PO Box 2765,    LaBelle, Fl 33975-2765
15731912      Emergency Physicians of Naples,      PO Box 160448,    Miami, FL 33116-0448
15731913     +Equifax Information Services LLC,      PO Box 740256,    Atlanta, GA 30374-0256
15731915     +Experian,    PO Box 2002,    Allen, TX 75013-2002
15731922     +FL Gulf Coast Construction, Inc,      503 SW 2nd St.,    Cape Coral, FL 33991-1959
15731926      FPL,   General Mail Facility,      Miami, FL 33188-0001
15731916      Ferguson Enterprises, Inc,     PO Box 100286,     Atlanta, GA 30384-0286
15731917      Fifth Third Bank,    P. O. Box 630900,     Cincinnati, OH 45263-0900
15731918     +Fifth/Third Bank,    7595 Vanderbilt Beach Rd.,      Naples, Fl 34119-1408
15731919     +Firestone,    5495 Airport Rd.,     Naples, FL 34109-2057
15731920     +First Appraisal of SW FL, Inc,      2040 Fort Denaud Rd,    LaBelle, FL 33935-6615
15731921     +Five Star Painting, Inc,     4025 24th St. SW,     Lehigh Acres, FL 33976-3803
15731923     +Flesher Windows, INc,     511 Leonard Blvd,    Lehigh Acres, FL 33971-6314
15731924     +Florida Dreamscapes, Inc,     173 Dowling Ave, NE,     Port Charlotte, FL 33952-9040
15731925     +Florida First Financia,     1718 E Giddens Ave,     Tampa, FL 33610-4957
15731927     +Fremont Investment & Loan,     2727 E. Imperial Hwy,     Brea, CA 92821-6713
15731929     +GFA International,    1215 Wallace Dr.,     Delray Beach, FL 33444-4600
15731928     +Gates in Motion,    8359 Beacon Blvd, #107,     Fort Myers, Fl 33907-3054
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15731930     +Golden Gate Well Drilling,     1822 40th Terr. SW,    Naples, FL 34116-6004
15731931     +Goodlette, Coleman, Johnson,,     Yovanovish & Koester, PA,     4001 Tamiami Trail N, Suite #300,
               Naples, FL 34103-3591
15731932      Greenberg, Grant & Richards, Inc,     Atten: Kennedy Bosco,     Po Box 571811,
               Houston, TX 77257-1811
15731933     +Grizz, LLC,    3022 SE 18th Ave.,    Cape Coral, FL 33904-4009
15731934      Gulf Coast Collection,     5690 Marquesas Cir,    Sarasota, FL 34233
15731935     +Gustavo Rivero & Son, Inc,     3773 Arnold Ave.,    Naples, FL 34104-3367
16104593     +HMTW Land Fund I, LLC,     3450 West Crown Pointe, Suite 201,     Naples, FL 34112-7423,
               Attention: Gary Hains
15731937      Healthcare Financial Assistance, Inc,      PO Box 22669,    Jackson, MS 39225-2669
15731938      Hendry County Tax Collector,     Po Box 1780,    LaBelle, FL 33975-1780
15731939     +Hills Lighting,    8871 Brighton Lane,     Bonita Springs, FL 34135-7524
15731941     +Howard Whitman Plumbing,     2575 Phillips Rd,    LaBelle, FL 33935-0580
15731942      Hulett Environmental Services,     PO Box220928,    West Palm Beach, FL 33422-0928
15731949     +ISO Claim Search,    545 Washington Blvd,     Jersey City, NJ 07310-1607
15731943     +Ideal Electric, Inc,    2090 J & C Blvd,     Naples, Fl 34109-2052
15731944     +In Balance, Inc,    2154 Trade Center Way,     Naples, Fl 34109-2041
15731945     +Innovative Trade Solutions, Inc,     8118 Aimeria Rd,     Fort Myers, FL 33967-2501
15731946     +Internal Revenue Service,     2891 Center Pointe Drive,     Fort Myers, FL 33916-9459
15731947     +Intl Collection Srve,    255 South Tamiami Trail,     P. O. Box 1308,     Nokomis, FL 34274-1308
15731948      Iron Stone Bank,    PO Box 29568,    Raleigh, NC 27626-0568
15731950     +J & F Stucco, Inc,    4001 Caloosa Loop,     LaBelle, FL 33935-5365
15731951     +J Powell Concrete, Inc,     1506 Tena Ave. S.,    Lehigh Acres, FL 33976-3421
15731952     +J.J. F. Construction & Property Mgmt, In,      1204 Ridge St.,    Naples, FL 34103-4277
15731953      JC-1 Condominium Assoc,     2220 J & C Blvd, Suite #9,     Naples, FL 34109-2043
15731954     +Jeffrey Morrow Soffit & Fascia, Inc,      926 SE 9th St.,    Cape Coral, FL 33990-6204
15731955     +Jensen Underground,    5585 Taylor Rd.,     Naples, FL 34109-1842
15731956     +Jerck-Fix-It,    Jarek Freund,    1204 Ridge St.,    Naples, FL 34103-4277
15731957      Kansas Counselors,    Po Box 14765,    Shawnee Mission, KS 66285-4765
15731959     +Kenny Baker Well Drilling, Inc,     1206 Dunndale St.,     Lehigh Acres, FL 33936-4816
15731960     +Kunstler Stone, Inc,    6166 Janes Lane,     Naples, FL 34109-6224
15731964      LCEC,   Po Box 3455,    North Fort Myers, FL 33918-3455
15731961     +LaBelle Electric,    PO Box 904,    LaBelle, FL 33975-0904
15731962     +Land Investment Services, Inc,     21430 Palm Beach Blvd.,     Alva, FL 33920-4064
15731963      Law Offices of Sprechman & Assoc, PA,      2775 Sunny Isles Blvd, Suite 100,     Miami, FL 33160-4007
15731965     +Lee County BOCC,    PO Box 398,    Fort Myers, FL 33902-0398
15731966     +Lee County Tax Collector,     PO Box 850,    Fort Myers, FL 33902-0850
15731967      Lehigh Surveying, INc,     1130 E Lee Blvd.,    Naples, Fl
15731968     +Lehigh Well & Water Systems, Inc,     PO Box 1412,    Lehigh Acres, FL 33970-1412
15731969     +Lester & Lyn Lee,    105 Manor Lake Ct.,     Alpharetta, GA 30004-8812
15731970     +LexisNexis,    1900 NW Expressway, Suite 1600,     Oklahoma City, OK 73118-1845
15731971     +Litton Loan Servicing,     Attention: Bankruptcy,     4828 Loop Central Drive,
               Houston, TX 77081-2212
15731982      MSCB, Inc,    PO Box 1567,    Paris, TN 38242-1567
15731972     +Matrix Employee Leasing, Inc,     9016 Phillips Hwy,     Jacksonville, FL 32256-1306
15731973     +Matt’s Concrete, INc,    2122 NE 17th St.,     Cape Coral, FL 33909-5602
15731974     +Medical Information Bureau,     160 University Avenue,     Westwood, MA 02090-2307
15731975      Memorial Hospital,    PO Box 1810,    Gulfport, MS 39502-1810
15731976     +Mid South Credit Bureau,     PO Box 1567,    Paris, TN 38242-1567
15731977      Mississippi Power,    Po Box 245,    Birmingham, AL 35201-0245
15731978     +Moon Plumbing,    1402 Gerald Ave.,    Lehigh Acres, FL 33972-2322
15731979     +Morris-Depew Assoc, Inc,     2216 Altamont Ave.,    Fort Myers, FL 33901-3561
15731980     +Morrison & Caudill,    9010 Strada Stell Ct,     Naples, FL 34109-4424
15731981     +Mouser & Mouser, PA,    1032 9th St. N,     St. Petersburg, FL 33705-1101
15731983     +Myers Drywell, Inc,    2435 George Ave. S,     Lehigh Acres, FL 33973-6106
15731988      NCH Health Care System,     PO Box 404903,    Atlanta, Ga 30384-4903
15731989      NCO Financial Systems,     PO Box 17080,    Wilmington, DE 19850-7080
15731990      NCO Financial Systems, Inc,     PO Box 182965,    Columbus, OH 43218-2965
15731984     +Naples Diagnostic Imaging Cntr,     PO Box 8659,    Naples, FL 34101-8659
15731985     +Naples Permitting, INc,     3512 Radio Rd.,    Naples, FL 34104-3721
15731986      Naples Radiologists, PA,     PO Box 102539,    Atlanta, GA 30368-2539
15731987      National Fitness Financial,     Adv Collections Dept,     PO Box 224,    Roy, UT 84067-0224
15731991     +Nezmar Contractors Services, Inc,     5649 2nd St. W,     Lehigh Acres, FL 33971-6321
15759730     +Office of US Attorney,     Attn Civil Process Clerk,     400 North Tampa St Suite 3200,
               Tampa FL 33602-4774
15731992     +Olive Pest Control,    2049 23rd St. SW,     Naples, Fl 34117-4626
15731993     +Osprey-Gulf Shore Building Materials,      4328 Domestic Ave.,    Naples, FL 34104-7065
15731994     +Oswald Trippe & Company, Inc,     4089 Tamiami Trail N A203,     Naples, FL 34103-8701
15731995     +Overhead Door Co,    2325 Crystal Dr.,     Fort Myers, FL 33907-4095
15731999    ++PORTFOLIO RECOVERY ASSOCIATES LLC,     PO BOX 41067,     NORFOLK VA 23541-1067
             (address filed with court: Portfolio Recovery Associates, LLC,         P. O. Box 12914,
               Norfolk VA 23541-0000)
15731996     +Platinum Contracting, Inc,     5580 8th St. W,    Lehigh Acres, FL 33971-6313
15731997     +Porter Paint,    2403 Trade Center Way, Suite 1,     Naples, Fl 34109-2034
15731998     +Portfolio Rc,    Attn: Bankruptcy,    PO Box 9204,    Old Bethpage, NY 11804-9004
15732000     +Portor, Wright, Morris & Arthur, LLP,      5801 Pelican Bay Blvd., Suite #300,
               Naples, FL 34108-2709
15732001      Professional Adjustment Corp.,     14410 Metropolis Ave.,     Ft. Myers, FL 33912-4341
15732002     +Q. Grady Minor & Assoc. PA,     3800 Via Del Ray,    Bonita Springs, FL 34134-7569
15732003     +Quattrone & Assoc, Inc,     11000 Metro Pkwy,    Fort Myers, FL 33966-1209
15732004     +R & P Property Management,     265 Airport Rd S,    Naples, FL 34104-3518
15732005     +R W Ellis construction Company, Inc,      12480 Gateway Greens Dr.,     Fort Myers, FL 33913-8318
15732010     +RLK,   3340 21st Ave. SW,     Naples, FL 34117-6614
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15732014      RPM,   PO Box 4006,    Bothell, WA 98041-4006
15732006     +Ramsey, Inc,    2631 4th St. NW,    Naples, FL 34120-1306
15732007     +Res Calc,    616 96th Ave. N,    Naples, Fl 34108-2463
15732008     +Rew Materials,    1615 Trade Center Way,    Naples, Fl 34109-1875
15732009     +River City IRR & Land,    401 Skylark Lane, NW,     Port Charlotte, FL 33952-6527
15732011     +Robert E. Tardif, Jr.,    8695 College Pkwy, Suite 1220,      Fort Myers, FL 33919-5824
15732012     +Ross Lanier & Deifik, PA,     599 9th St. N, Suite 300,     Naples, FL 34102-5624
15732013     +Rost Reprographics, Inc,    5580 8th St. W, Suite #9,      Lehigh Acres, FL 33971-6313
15732015     +Ruben Sorhegui Tile Distributor,     3876 Mercantile Ave., Suite #1,     Naples, FL 34104-3333
15732035     +SWFL Vinyl Soffit, Inc,    1122 Canton Ave.,     Lehigh Acres, FL 33972-3508
15732016     +Sallie Mae,    Attn: Claims Dept,    PO Box 9500,    Wilkes Barre, PA 18773-9500
15732017     +Salvatori & Wood,    Northern Trust Bank Building,     4001 Tamiami Trail N, Suite 330,
               Naples, FL 34103-3555
15732018     +Sanovis Bank,    8850 Tamiami Trail,    Naples, FL 34108-2687
15732019     +Sanovis Bank (First FL Bank),     8850 Tamiami Trail,     Naples, Fl 34108-2687
15732020     +Scott Paint,    7839 Fruitville Rd,    Sarasota, FL 34240-8681
15732021      Sears Commercial One,    PO Box 689131,    Des Moines, IA 50368-9131
15732022      Sherwin-Williams Co,    214 Highway 90,    Waveland, MS 39576-2621
15732023     +Shoreline Flooring Supplies,     3406 Dean St,    Naples, FL 34104-3304
15732024     +Smart Choice Electric, INc,     711 Everglades Blvd, N,     Naples, FL 34120-4926
15732025     +Smith & DeShields, Inc,    2360 Trade Center Way,     Naples, FL 34109-2025
15732026     +So. Miss. Business Machines of Gpt, Inc,      PO Box 697,    Gulfport, MS 39502-0697
15732027     +Southern Financial Collections,     PO Box 15203,    Hattiesburg, MS 39404-5203
15732028     +Statewide Security of FL, Inc,     5567 Taylor Rd, Suite 16,     Naples, FL 34109-1880
15732029     +Stock Building Supply,    3601 Work Dr.,    Fort Myers, Fl 33916-7535
15732030     +Stone Age Pavers, Inc,    205 NW 12th Ave.,     Pompano Beach, FL 33069-2901
15732031     +Sun Realty,    3757 Tamiami Trail N,    Naples, FL 34103-3718
15732032     +Sunbelt Rentals,    PO Box 409211,    Atlanta, GA 30384-9211
15732036     +T & M Portable Restrooms, Inc,     PO Box 610,    LaBelle, FL 33975-0610
15732051      TRS Recovery Services, Inc,     PO Box 60012,    City of Industry, CA 91716-0012
15732037     +Telecheck Services,    5251 Westheimer,    Houston, TX 77056-5499
15732038     +The Cabinet Shop Lee County,     2550 Edison Ave.,    Fort Myers, FL 33901-5302
15732039     +The Learning Tree,    875 108th Ave. N,    Naples, FL 34108-1873
15732040     +The McMorrow Law Firm, PA,     Poinciana Professional Park,     2590 Golden Gate Pkwy,
               Naples, FL 34105-3261
15732041      The Paint Authority, INc,     3915 Double J Acres Blvd.,     Alva, FL 33920
15732042     +The Tile Market of Ft Myers,     11771 Metro Pkwy,    Fort Myers, FL 33966-8359
15732043     +Thompson INc. of SW FL,    1121 Gretchen Ave.,     Lehigh Acres, FL 33973-2648
15732044     +Timo Brothers, INc,    8881 Terrene Ct.,    Bonita Springs, FL 34135-9528
15732045     +Toni A. Butler, Atty,    5425 Park Central Ct,     Naples, FL 34109-5934
15732046     +TransUnion,    P.O. Box 2000,    Chester, PA 19016-2000
15732047     +Transworld Systems,    3450 Lakeside Dr. #304,     Miramar, FL 33027-3268
15732048     +Treasure Tile, INc,    2097 Trade Center Way,     Naples, FL 34109-6245
15732049     +Trimworks Unlimited, Inc,     1718 Englewood Ave.,    Lehigh Acres, FL 33936-5342
15732050     +Tropic Floors, Inc,    1527 SE 47th Terr.,     Cape Coral, Fl 33904-9639
15732052     +Turner Pest Control,    480 Edgewood Ave. S,     Jacksonville, FL 32205-3775
15732053     +United Collection Bureau, Inc,     PO Box 140190,    Toledo, OH 43614-0190
15732054      University Fidelity, LP,    PO Box 941911,     Houston, TX 77094-8911
15732055      Val Wilson Termite Systems, Inc,     Payment Processing Center,     13509 Prestige PL,
               Tampa, FL 33635-9619
15732056     +Visions Millwork, INc,    2900 Hunter St.,     Fort Myers, FL 33916-7608
15732057     +West Coast Insulation of Central FL,     251 Commerical Crt,     Sebring, FL 33876-6524
15732058      Williams Scotsman,    PO Box 91975,    Chicago, IL 60693-1975
15732059     +YJ Electric,    2410 8th ST NE,    Naples, FL 34120-0411
15732060     +Zeno Office Solutions,    PO Box 23687,    Tampa, FL 33623-3687
The following entities were noticed by electronic transmission on Oct 12, 2009.
tr           +EDI: QRETARDIF.COM Oct 12 2009 17:38:00      Robert E Tardif, Jr.,    Trustee,
               Post Office Box 2140,    Fort Myers, FL 33902-2140
15731862      EDI: ALLIANCEONE.COM Oct 12 2009 17:38:00      Alliance One Receivables Management, Inc,
               PO Box 3102,   Southeastern, PA 19398-3102
15731863      EDI: ALLTEL.COM Oct 12 2009 17:38:00      Alltel,   PO Box 9001905,    Louisville, KY 40290-1905
15731864     +EDI: ALLTEL.COM Oct 12 2009 17:38:00      Alltel Comm,    Bankruptcy Group,    1 Allied Dr B5F03,
               Little Rock, AR 72202-2013
15731865      EDI: ALLTEL.COM Oct 12 2009 17:38:00      Alltell,   PO Box 530533,    Atlanta, GA 30353-0533
15731873     +EDI: BANKAMER2.COM Oct 12 2009 17:38:00      BANK OF AMERICA,    PO BOX 1598,
               NORFOLD, VA 23501-1598
15731870     +EDI: BANKAMER.COM Oct 12 2009 17:38:00      Bank Of America,    Attn: Bankruptcy NC4-105-02-77,
               PO Box 26012,   Greensboro, NC 27420-6012
15731871      EDI: BANKAMER.COM Oct 12 2009 17:38:00      Bank of America,    PO Box 45224,
               Jacksonville, FL 32232-5224
15731872      EDI: BANKAMER2.COM Oct 12 2009 17:38:00      Bank of America,    P. O. Box 25118,
               Tampa, FL 33622-5118
15731894     +E-mail/Text: citjaxbankruptcy@cit.com                            CIT Technology Fin Serv, Inc,
               21146 Network Place,   Chicago, IL 60673-1211
15731902     +EDI: CREDPROT.COM Oct 12 2009 17:38:00      Credit Protection Assoc, LP,    13355 Noel Rd,
               Dallas, TX 75240-6602
15731911      E-mail/Text: bankruptcy@centurylink.com                            Embarq,    P.O. Box 96064,
               Charlotte, NC 28296-0064
15731926      E-mail/Text: Bankruptcy@fpl.com                            FPL,   General Mail Facility,
               Miami, FL 33188-0001
15731936     +E-mail/Text: bkynotice@harvardcollect.com
               Harvard Collection Services, Inc,    4839 N Elston Ave.,    Chicago, IL 60630-2589
                          Case 9:09-bk-02739-ALP                 Doc 27       Filed 10/15/09          Page 6 of 6



 District/off: 113A-9                  User: bugayd                       Page 4 of 4                          Date Rcvd: Oct 12, 2009
 Case: 09-02739                        Form ID: B18J                      Total Noticed: 219

 The following entities were noticed by electronic transmission (continued)
 15759729      EDI: IRS.COM Oct 12 2009 17:38:00      Internal Revenue Service,   P.O. Box 21126,
                Philadelphia, PA 19114
 15732033     +EDI: SSFCU.COM Oct 12 2009 17:38:00      Suncoast Cu,   Attn: Col 002,    PO Box 11829,
                Tampa, FL 33680-1829
 15732033     +E-mail/Text: cmecf@suncoastfcu.org                           Suncoast Cu,    Attn: Col 002,
                PO Box 11829,    Tampa, FL 33680-1829
 15732034      EDI: SSFCU.COM Oct 12 2009 17:38:00      Suncoast Schools Federal Credit Union,    P. O. Box 11904,
                Tampa, FL 33680-1904
 15732034      E-mail/Text: cmecf@suncoastfcu.org                           Suncoast Schools Federal Credit Union,
                P. O. Box 11904,    Tampa, FL 33680-1904
 15731940      EDI: FUNB.COM Oct 12 2009 17:38:00      Homeq,   Attn: Bankruptcy Department,
                1100 Corporate Center,    Raleigh, NC 27607
                                                                                               TOTAL: 20
               ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
 cr               3573 Enterprise Condominium Association
 15731958*       +Kansas Counselors,   Po Box 14765,   Shawnee Mission, KS 66285-4765
                                                                                                                     TOTALS: 1, * 1
 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.
 Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
 pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).




I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Oct 15, 2009                                       Signature:
